                     EXHIBIT 3




Case 1:19-cv-00015-WCG Filed 04/15/19 Page 1 of 6 Document 23-3
Rosco v. Equifax Information Services, Inc., Not Reported in F.Supp.3d (2015)
2015 WL 5613203

                                                                 More than 14 days have passed and no party has filed
                                                                 any objection to either Report and Recommendation.
                  2015 WL 5613203
                                                                 Fed.R.Civ.P. 72(b)(2); see also Willis v. Caterpillar, Inc.,
    Only the Westlaw citation is currently available.
                                                                 199 F.3d 902, 904 (7th Cir.1999) (explaining that the
             United States District Court,
                                                                 failure to file a timely objection will result in the waiver
                    N.D. Indiana,
                                                                 of the right to challenge a report and recommendation).
                Fort Wayne Division.
                                                                 Therefore, the parties have waived their right to challenge
              Russell D. ROSCO, Plaintiff,                       the report and recommendations.
                           v.
               EQUIFAX INFORMATION                               Therefore, the Court hereby ADOPTS the Report and
                                                                 Recommendation (DE # 67). Accordingly, Defendant's
              SERVICES, INC., Defendant.
                                                                 motion to enforce settlement (DE # 54) is DENIED.
                  Cause No. 1:14–CV–141.
                              |                                  Additionally, the court ADOPTS the second Report
                   Signed Sept. 23, 2015.                        and Recommendation (DE # 68). Accordingly, Plaintiff's
                              |                                  motions for sanctions (DE # # 34, 53, and 62) are
                    Filed Sept. 24, 2015.                        DENIED.

Attorneys and Law Firms

Russell D. Rosco, Brewster, WA, pro se.                                  REPORT AND RECOMMENDATION

Brian J. Olson, King & Spalding LLP, Atlanta, GA, James          SUSAN COLLINS, United States Magistrate Judge.
W. Riley, Jr., Riley Bennett & Egloff LLP, Indianapolis,
                                                                 Before the Court is Defendant Equifax's motion to enforce
IN, for Defendant.
                                                                 settlement (DE 54) in this case filed by pro se Plaintiff
                                                                 Russell D. Rosco under the Fair Credit Reporting Act
                                                                 (“FCRA”), 15 U.S.C. § 1681 et seq. On August 3, 2015,
                          ORDER                                  District Judge Rudy Lozano entered an Order pursuant to
                                                                 28 U.S.C. § 636(b)(1)(B), Federal Rule of Civil Procedure
RUDY LOZANO, District Judge.
                                                                 72(b), and Northern District of Indiana Local Rule 72–
 *1 This matter is before the Court on the: (1) Report           1(b), referring this case to the undersigned Magistrate
and Recommendation of Magistrate Judge Susan Collins,            Judge to prepare a report and recommendation. (DE 63).
filed on September 4, 2015 (DE # 67); and (2) Report and         For the following reasons, the undersigned Magistrate
Recommendation of Magistrate Judge Susan Collins, also           recommends that Equifax's motion to enforce settlement
filed on September 4, 2015 (DE # 68).                            be DENIED.

First, Magistrate Collins ruled upon Defendant's motion
to enforce a settlement agreement (DE # 54), finding the                   A. Factual and Procedural Background
parties had not reached an agreement, or a meeting of
the minds, on at least one essential term, Plaintiff's receipt   On April 1, 2014, Rosco filed this action in Allen County
of his corrected “credit file,” and denying the motion to        Superior Court, Indiana, Small Claims Division, alleging
enforce a settlement agreement. (DE # 67).                       that Equifax failed to provide him with information in his
                                                                 credit file upon request, in violation of § 1681g(a)(1) of the
Second, Magistrate Collins ruled on three motions for            FCRA. (DE 13). Equifax removed the case to this Court.
sanctions by filed by pro se Plaintiff, Russell Rosco (DE        (DE 1). The Court conducted a scheduling conference on
# # 34, 53, 62), and found that the Court had not issued a       November 24, 2014, setting a discovery deadline of April
discovery order with which Equifax had failed to comply,         17, 2015. (DE 12).
thus the motions for sanctions were denied. (DE # 68.)
                                                                                                                  EXHIBIT
                                                                                                                         3
              Case  1:19-cv-00015-WCG
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                                                to original      Page 2 of 6Works.
                                                            U.S. Government   Document 23-3                                  1
Rosco v. Equifax Information Services, Inc., Not Reported in F.Supp.3d (2015)
2015 WL 5613203

On April 3, 2015, Rosco filed a “Motion for Sanction               and (6) Rosco wanted assurance that the parties would not
Against Equifax and Their Counselor for Willful                    report to the Court that day that they had settled the case,
Discovery Violations,” seeking sanctions against Equifax           “even if, in fact, Equifax settles”; Olson explained that
on the basis that it purportedly responded to his discovery        such a report to the Court would not alleviate Equifax's
requests by making boilerplate objections. (DE 34). On             obligation to complete the parties' settlement.
April 20, 2015, Equifax requested an extension of time
to respond to Rosco's motion for sanctions, which the              Rosco was silent throughout Olson's report of their
Court granted. (DE 40; DE 42). The Court then received             off-the-record conference. The Court acknowledged that
Rosco's objection to the requested extension; not long             it sounded as if the parties were “heading toward a
thereafter, Equifax filed a second request for extension of        resolution that could be beneficial for both parties,” and
time to respond to Rosco's motion for sanctions. (DE 43;           the Court then reviewed the deadlines set for Rosco's
DE 44). On May 11, 2015, the Court held a hearing on               deposition and Equifax's response to Rosco's motion for
Equifax's motion for a second extension, at which Rosco            sanctions. Before closing the hearing, the Court asked the
and Defendant's counsel, Brian J. Olson and James W.               parties if they had anything further; neither Olson, Riley,
Riley, appeared telephonically. (DE 46).                           or Rosco indicated that they did.

*2 At the hearing, the Court heard oral argument from              Three days after the hearing, on May 14, 2015, Olson sent
Rosco and Attorney Olson on the motion for extension.         1    Rosco the following email, in relevant part:
Near the close of the hearing, Olson explained that when
the parties were conferring regarding discovery issues and
discussing potential settlement, he explored with Rosco                        Equifax has agreed to accept your
the possibility that Equifax would provide his “consumer                       offer of settlement on the terms
report” as part of the case resolution; Rosco, however,                        that we reported to the Court on
insisted that he wanted his “entire file.” Olson stated                        Monday. Equifax will send you
that he would like to hear from Rosco what information                         a settlement check for $[XXX]
in particular he is seeking. To provide the parties an                         in exchange for dismissal with
opportunity to confer about their disputes and to explore                      prejudice. I will send you the
the possibility of settlement, the Court then went off                         settlement agreement, w–9, and
the record, leaving counsel and Rosco to confer among                          disclosure for your review. Please
themselves. After 16 minutes, the parties notified the                         sign the settlement agreement and
Court that they were ready to go back on the record. (DE                       w–9 and I will order the check. Once
46).                                                                           I receive it I will send it to you by
                                                                               overnight mail.
When the hearing resumed, Attorney Olson gave the
following report of the parties' conference: (1) he was
happy to report that the parties had made “significant              *3 (DE 54–1 at 3). Later that day, Olson received the
headway”; (2) Equifax had agreed to send Rosco, via                following response from Rosco:
overnight mail, “a copy of his credit file” so that he
could review it “shoulder to shoulder” with Olson,                   Th[e] agreement also included having a correct credit
because Rosco was concerned that his credit file may                 file. I am not nor have I agreed to signi[ ]ng anything
contain inaccurate information; (3) it may be necessary              until I have an accurate credit file.
to reinvestigate the information in Rosco's file to verify
                                                                     We still need to work on getting the credit file reviewed
any inaccuracies, and Equifax would be glad to work
                                                                     and corrected before any settlement agreement is sent
with Rosco on that; (4) Rosco was “concerned about
                                                                     to me.
settlement because he does not want to have to verify that
the information on his file is accurate if, in fact, it is not,”     You still have to answer my sanctions motion by
and Equifax agreed with that statement; (5) Rosco had                Monday. [ ] I did not [ ] agree to any quick settlement
made a monetary demand, which Olson agreed to take to                or the waiving any activity pending in the court. I have
Equifax that same day and “discuss potential settlement”;            and will continue to demand to see my credit file.


              Case  1:19-cv-00015-WCG
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                                                to original      Page 3 of 6Works.
                                                            U.S. Government   Document 23-3                                 2
Rosco v. Equifax Information Services, Inc., Not Reported in F.Supp.3d (2015)
2015 WL 5613203

                                                                writing or otherwise. (DE 57 at 2). He acknowledges that
  The $[XXX] settlement was and is condition[ed] on             “some progress has been made on terms of settlement,”
  seeing my credit file and having it corrected.                but contends that Equifax's offer to provide “assistance
                                                                with disputed items” is a far cry from his stated demand
(DE 54–1 at 4).
                                                                of receiving a correct “credit file,” which he urges is not
                                                                the same thing as a “consumer disclosure.” (DE 57 at 4, 8,
One week later, on May 18, 2015, Equifax filed a motion
                                                                10). As such, he asserts that there was no meeting of the
to stay, asking the Court to stay all proceedings for 45
                                                                minds regarding the settlement terms. (DE 57 at 8).
days “while the parties complete the remaining terms of
settlement and file a stipulation of dismissal.” (DE 47 ¶ 4).
Equifax stated that Olson had “sent an email to [Rosco]
confirming that Equifax accepted the settlement offer on                      B. Applicable Legal Standard
the terms outlined to the Court and for the monetary
amount discussed by the parties.” (DE 47 ¶ 2). Equifax           *4 “A settlement agreement ... is enforced just like any
further indicated that “[a]s a term of settlement Equifax       other contract.” Lynch, Inc. v. SamataMason, Inc., 279
has agreed to provide [Rosco] with a credit disclosure          F.3d 487, 489 (7th Cir.2002) (citations omitted). “Issues
and to assist [him] with any disputed information,” which       regarding the formation, construction, and enforceability
would take time to complete. (DE 47 ¶ 3). On that same          of a settlement agreement are governed by local contract
day, Equifax sent Rosco the “disclosure” for his review.        law.” Pohl v. United Airlines, Inc., 213 F.3d 336,
(DE 54 at 2; DE 54–1 ¶ 7).                                      338 (7th Cir.2000) (citation omitted). Under Indiana
                                                                law, which governs here, an agreement to settle a
On May 26, 2015, Rosco objected to Equifax's motion             lawsuit is generally enforceable. Zimmerman v. McColley,
to stay, agreeing that “some progress was made on terms         826 N.E.2d 71, 76–80 (Ind.Ct.App.2005) (enforcing an
of settlement,” but that they were still “a long way from       oral settlement agreement in personal injury case). A
settling.” (DE 50 at 1–2). He stated that any settlement        settlement agreement need not be in writing to be
would have to give him what he initially demanded—              enforceable. Id. at 77 n. 2 (citing Vernon v. Acton, 732
his “credit FILE”—in addition to automatic monetary             N.E.2d 805, 809 (Ind.2000)). “Settlement agreements are
sanctions against Equifax for reporting any inaccurate          governed by the same general principles of contract
data and provision for punitive damages in any future           law as any other agreement”; they require “[a]n offer,
lawsuit. (DE 50 at 1 (capitalization in original)).             acceptance, [and] consideration.” Id. at 76 (citations
                                                                omitted).
On June 11, 2015, Rosco filed a document entitled “Notice
of No Settlement Agreement,” stating: (1) that he had           “A meeting of the minds of the contracting parties,
“no desire to enter into a settlement agreement”; and           having the same intent, is essential to the formation
(2) that Equifax “failed to provide the credit file” and        of a contract.” Id. at 77 (citing Wallem v. CLS Indus.,
instead “only provided a disclosure form which is at best       Inc., 725 N.E.2d 880, 883 (Ind.Ct.App.2000)). “The
a snapshot of currently reported accounts; not all account      failure to demonstrate agreement on essential terms of a
records held by [Equifax] over the course of the last two       purported contract negates mutual assent and hence there
to seven years.” (DE 52 at 1). Rosco asserted that the          is no contract.” Ochoa v. Ford, 641 N.E.2d 1042, 1044
documents he received constituted only a “part” of his          (Ind.Ct.App.1994) (citation omitted); see also Schuler
credit file, and that Equifax's failure to provide the entire   v. Graf, 862 N.E.2d 708, 715 (Ind.Ct.App.2007) (“If a
contents of his credit file “is the primary reason that the     party cannot demonstrate agreement on one essential
settlement is off; if it [had] ever been in the works.” (DE     term of the contract, then there is no mutual assent and
52 at 1).                                                       no contract is formed.” (citation omitted)). Whether a
                                                                meeting of the minds exists “is a factual matter to be
On June 26, 2015, Equifax filed the instant motion in           determined from all the circumstances,” and the Court
response to Rosco's notice, asking the Court to enforce         should not consider “the parties' subjective intents but
the settlement agreement and dismiss this case. (DE 54).        their outward manifestation of it.” Zimmerman, 826
Rosco filed a response on July 6, 2015, asserting that there    N.E.2d at 77 (citations omitted).
was never an agreement about the settlement terms, in


              Case  1:19-cv-00015-WCG
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                                                to original      Page 4 of 6Works.
                                                            U.S. Government   Document 23-3                             3
Rosco v. Equifax Information Services, Inc., Not Reported in F.Supp.3d (2015)
2015 WL 5613203

                                                               lead to the settlement....”). Therefore, Equifax has failed
                                                               to establish the elements of offer and acceptance necessary
                       C. Discussion
                                                               to form a settlement agreement.
Contrary to Equifax's assertion, the circumstances
surrounding the May 11th hearing are more reflective           Moreover, “[d]istrict courts may only enforce completed
of settlement negotiations, than an actual settlement          settlement agreements—those which the parties have
agreement. See id. (stating that whether a meeting of          reached agreement on all material terms.” Hyde
the minds exists “is a factual matter to be determined         Park Union Church v. Curry, 942 F.Supp. 360, 363
from all the circumstances” (citation omitted)). When          (N.D.Ill.1996) (citation omitted). Here, there was no
Attorney Olson reported about the parties' off-the-record      “meeting of the minds” on at least one essential term
conference, he stated that they had made “significant          —Rosco's receipt of his corrected “credit file.” See
headway,” not that they had, in fact, settled. Similarly, he   Zimmerman, 826 N.E.2d at 77 (“A meeting of the minds of
indicated that he would take Rosco's monetary demand           the contract parties, having the same intent, is essential to
to Equifax and “discuss potential settlement.” Olson also      the formation of a contract.” (citing Wallem, 725 N.E.2d
conveyed Rosco's concern that he did not want the Court        at 883). “If a party cannot demonstrate agreement on one
to report that the case had, in fact, settled. After hearing   essential term of the contract, then there is no mutual
Olson's report, the Court stated that it sounded as if the     assent and no contract is formed.” Schuler, 862 N.E.2d at
parties “were heading toward a resolution.” As explained       715 (citation omitted).
earlier, Rosco remained silent throughout this portion of
the hearing.                                                   Rosco contends that his “credit file” includes all account
                                                               records held by Equifax over the last two to seven
“Indiana law recognizes that two parties may reach             years, information about who had made inquiries during
an oral, binding settlement agreement.” Pohl v.                the two-year period prior to filing this lawsuit, any
United Airlines, 110 F.Supp.2d 829, 837 (S.D.Ind.1999)         documentation regarding investigation of his disputes,
(citations omitted). “If one party transmit[s] a clear         any document listed in the supplemental response, and
and unambiguous settlement offer which [is] accepted           “other fields in the Metro and Metro2.” (DE 52). He
by the [other party] ... the parties [have] reached            states that Equifax sent him only a “consumer disclosure,”
a binding settlement agreement.” Id. (alterations in           not his “credit file.” (See DE 52; DE 54–1 ¶ 7). Equifax,
original) (citations omitted). Here, however, Equifax          however, contends that a “consumer disclosure” contains
has not demonstrated that Rosco made a clear and               all the information in a credit file (DE 54 at 2; DE
unambiguous offer of settlement to Equifax at the hearing,     54–1 at 2, 5), and that Rosco cannot now back out of
despite Olson's May 14th email to Rosco attempting to          the settlement agreement by assigning an “illogical and
characterize it as such. (DE 54–1 at 3 (“Equifax has agreed    imaginary definition” to the term “credit file” (DE 64 at
to accept your offer of settlement on the terms that we        5).
reported to the Court on Monday.”)). Nor has Equifax
shown that Rosco accepted a clear and unambiguous offer        By the May 11th hearing, however, Equifax was already
of settlement from Equifax at the hearing.                     aware from Rosco's prior filings that Rosco was adopting
                                                               a broad interpretation of the term “credit file.” In several
 *5 And after the hearing, Rosco's email exchange with         filings on April 3, 2015 (DE 34 at 7; DE 35 at 6–7,
Olson makes it very clear that Rosco did not later accept      16; DE 36 at 5, 10–11), Rosco cited a case, Goode v.
Equifax's offer of settlement, as Rosco stated: “I am not      LexisNex Risk & Information Analytics Group, Inc., which
nor have I agreed to signi[ ]ng anything until I have an       construed a credit “file” as “all of the information on [a]
accurate credit file.” (DE 54–1 at 4); see, e.g., Gaul v.      consumer recorded and retained by a consumer reporting
Chrysler Fin. Servs. Ams., LLC, No. 1:13–cv–433, 2014          agency regardless of how the information is stored.” 848
WL 1466491, at *4 (N.D.N.Y. Apr.15, 2014) (stating in a        F.Supp.2d 532, 545 (E.D.Pa.2012) (alteration in original)
FCRA case against this same Defendant: “The Plaintiffs         (citing 15 U.S.C § 1681g(a)(1)). In contrast, Equifax seems
have never affirmed, either orally or in writing, that         to be relying on the narrower interpretation of “file”
they accept the terms of a settlement. Instead, Defendant      adopted by the Seventh Circuit Court of Appeals in
presents evidence of the negotiations that were intended to    Gillispie v. Trans Union Corp., 482 F.3d 907 (7th Cir.2007),



              Case  1:19-cv-00015-WCG
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                                                to original      Page 5 of 6Works.
                                                            U.S. Government   Document 23-3                              4
Rosco v. Equifax Information Services, Inc., Not Reported in F.Supp.3d (2015)
2015 WL 5613203

which, of course, is binding authority on this Court. In            826 N.E.2d at 77. Therefore, the undersigned Magistrate
                                                                    Judge will recommend that Equifax's motion to enforce
Gillispie, the Seventh Circuit stated: “The language of
                                                                    settlement be denied.
§ 1681g(a)(1), the FTC's interpretive guideline, and the
Senate Committee Report all support [the] argument that
‘file’ means information included in a consumer report.”
Id. at 910.                                                                                 D. Conclusion

 *6 In fact, at the hearing, Olson referenced the parties'          For the foregoing reasons, the undersigned Magistrate
different views on this issue prior to their off-the-record         Judge recommends that Equifax's motion to enforce
conference, stating that he would like to hear from                 settlement (DE 54) be DENIED.
Rosco what information in particular he was seeking in
requesting his credit file. (DE 46). Although Olson used            The Clerk is directed to send a copy of this Report and
the term “credit file” in his on-the-record report to the           Recommendation to pro se Plaintiff Russell D. Rosco
Court, he states that he sent a “consumer disclosure” to            and Equifax's counsel. NOTICE IS HEREBY GIVEN
Rosco, which he contends contains all the information in            that within 14 days after being served with a copy of
Rosco's credit file. (DE 54–1 ¶¶ 7, 9). Rosco, however,             this recommended disposition a party may serve and file
made it clear in his May 14th email to Olson that any               specific, written objections to the proposed findings or
settlement was conditioned on his receiving a “correct              recommendations. Fed.R.Civ.P. 72(b)(2). FAILURE TO
credit file.” (DE 54–1 at 4 (“I am not nor have I agreed to         FILE OBJECTIONS WITHIN THE SPECIFIED TIME
signi[ ]ng anything until I have an accurate credit file.”)).       WAIVES THE RIGHT TO APPEAL THE DISTRICT
                                                                    COURT'S ORDER. See Brokaw v. Brokaw, 128 F.
To reiterate, “[i]f a party cannot demonstrate agreement            App'x 527, 530 (7th Cir.2005); Lorentzen v. Anderson Pest
on one essential term of the contract, then there is                Control, 64 F.3d 327, 330 (7th Cir.1995).
no mutual assent and no contract is formed.” Schuler,
862 N.E.2d at 715 (citation omitted). Here, Equifax has             SO ORDERED.
not demonstrated that it reached an agreement with
Rosco on the meaning of the term “credit file.” In
                                                                    Entered this 4th day of September 2015.
fact, by all outward manifestation in their actions, it is
clear that the parties did not have a “meeting of the               All Citations
minds” on this term that would allow them to enter
into an enforceable settlement agreement. Zimmerman,                Not Reported in F.Supp.3d, 2015 WL 5613203


Footnotes
1      At the outset of the hearing, Attorney Olson reviewed the history of this case, acknowledging that Rosco seeks $3,500 in
       statutory damages in his complaint. Olson explained that early on in the matter, Rosco had contacted Olson regarding a
       potential settlement, and Equifax responded with a $500 settlement offer; Rosco, however, eventually rejected that offer.


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              Case  1:19-cv-00015-WCG
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                                                to original      Page 6 of 6Works.
                                                            U.S. Government   Document 23-3                                      5
